 Case: 4:11-cv-01975-CEJ Doc. #: 80 Filed: 09/12/13 Page: 1 of 1 PageID #: 696


                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION


CHERYL COMPTON, et al.,                      )
                                             )
              Plaintiffs,                    )
                                             )
        vs.                                  )         Case No. 4:11-CV-1975 (CEJ)
                                             )
ST. LOUIS METROPOLITAN POLICE,               )
DEPARTMENT, et al.,                          )
                                             )
              Defendants.                    )

                                         ORDER

        The Court having been advised that plaintiffs have satisfied their obligation for

attorneys’ fees to defendant City of St. Louis,

        IT IS HEREBY ORDERED that the motion of defendant City of St. Louis for

attorneys’ fees [Doc. #74] is moot.

        IT IS FURTHER ORDERED that the motion for attorneys’ fees filed by the

Police Defendants [Doc. #72] shall remain stayed until December 31, 2013.

        IT IS FURTHER ORDERED that the Police Defendants shall file a status report

with respect to their receipt of attorneys’ fee payments on or before December 31,

2013.




                                                  ___________________________
                                                  CAROL E. JACKSON
                                                  UNITED STATES DISTRICT JUDGE


Dated this 12th day of September, 2013.
